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 1   RAÚL R. LABRADOR
      Attorney General
 2
     THEODORE J. WOLD (CA #289177)
 3    Solicitor General
     LINCOLN DAVIS WILSON (WA #53764)
 4    Deputy Attorney General
 5
      Chief, Civil Litigation and Constitutional Defense Division
     JOSHUA N. TURNER (MN #0400279)
 6    Deputy Solicitor General
     Office of the Attorney General
 7   P.O. Box 83720
 8   Boise, Idaho 83720-0010
     Tel: (208) 334-2400
 9   Fax: (208) 854-8071
10

11                   UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WASHINGTON
12

13     STATE OF WASHINGTON, et al.,             Case No. 1:23-cv-03026

14        Plaintiffs,
             v.
15

16     UNITED STATES FOOD AND DRUG
       ADMINISTRATION, et al.                      NOTICE OF APPEAL
17
          Defendants,
18

19     STATE OF IDAHO; STATE OF
       IOWA; STATE OF MONTANA;
20     STATE OF NEBRASKA; STATE OF
       SOUTH CAROLINA; STATE OF
21
       TEXAS; STATE OF UTAH,
22
          Plaintiffs-Intervenors,
23

24

     STATE INTERVENORS’
     NOTICE OF APPEAL                       1           ATTORNEY GENERAL OF IDAHO
     Case 1:23-cv-03026-TOR    ECF No. 106   filed 04/26/23   PageID.2323 Page 2 of 9




 1           The States of Idaho, Iowa, Montana, Nebraska, South Carolina,
 2
     Texas, and Utah (“State Intervenors”) hereby appeal to the United
 3
     States Court of Appeals for the Ninth Circuit from the Order Denying
 4

 5
     State Intervenors’ Motion to Intervene, Dkt. #104, entered April 21,

 6   2023.

 7           Pursuant to Ninth Circuit Rule 3-2, State Intervenors’ Represen-
 8
     tation Statement is attached hereto.
 9

10   Dated: April 26, 2023

11
                                        /s/ Lincoln Davis Wilson_______
12                                      LINCOLN DAVIS WILSON (#53764)
13                                      Deputy Attorney General
                                        Chief, Civil Litigation and
14                                      Constitutional Defense Division
                                        Office of the Attorney General
15
                                        P.O. Box 83720
16                                      Boise, Idaho 83720-0010
                                        Tel: (208) 334-2400
17                                      Fax: (208) 854-8071
                                        Lincoln.Wilson@ag.idaho.gov
18

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     STATE INTERVENORS’
     NOTICE OF APPEAL                        2           ATTORNEY GENERAL OF IDAHO
     Case 1:23-cv-03026-TOR   ECF No. 106   filed 04/26/23   PageID.2324 Page 3 of 9




 1
                          CERTIFICATE OF SERVICE
 2
           I hereby certify that, on April 26, 2023, I electronically filed the
 3
     foregoing with the Clerk of the Court using the CM/ECF system, which
 4

 5   will send notification of such filing to all counsel of record.

 6

 7
                                         /s/Lincoln Davis Wilson____________
 8                                       LINCOLN DAVIS WILSON (WA #53764)
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     STATE INTERVENORS’
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     Case 1:23-cv-03026-TOR   ECF No. 106    filed 04/26/23   PageID.2325 Page 4 of 9




 1
                RULE 3-2 REPRESENTATION STATEMENT
 2        Pursuant to Ninth Circuit Rule 3-2(b) and in satisfaction of Fed-
 3   eral Rule of Appellate Procedure 12(b), State Intervenors provide the
 4   following statement of the parties to this appeal and their respective

 5
     counsel:
          1.    Plaintiff State of Washington:
 6

 7
                      Robert W. Ferguson
                      Noah Guzzo Purcell (WSBA #43492)
 8                    Noah.Purcell@atg.wa.gov
                      Kristin Beneski (WSBA #45478)
 9                    Kristin.Beneski@atg.wa.gov
10                    Colleen M. Melody (WSBA #42275)
                      Colleen.Melody@atg.wa.gov
11                    Andrew R.W. Hughes (WSBA #49515)
                      Andrew.Hughes@atg.wa.gov
12
                      Lauryn K. Fraas (WSBA #53238)
13                    Lauryn.Fraas@atg.wa.gov
                      Tera M. Heintz (WSBA #54921)
14                    Tera.Heintz@atg.wa.gov
                      800 Fifth Avenue, Suite 2000
15
                      Seattle, WA 98104-3188
16                    (206) 464-7744
                      Attorneys for Plaintiff State of Washington
17
          2.    Plaintiff State of Oregon:
18
                      Ellen F. Rosenblum
19
                      Carla Scott (WSBA #39947)
20                    Carla.A.Scott@doj.state.or.us
                      Sander Marcus Hull (WSBA #35986)
21                    Marcus.Hull@doj.state.or.us
                      YoungWoo Joh (OSB #164105)
22
                      Youngwoo.Joh@doj.state.or.us
23                    100 SW Market Street
                      Portland, OR 97201
24                    (503) 798-1664
     STATE INTERVENORS’
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 1
          3.   Plaintiff State of Arizona:
 2
                      Kris Mayes
 3                    Daniel C. Barr (AZ #010149)
                      Daniel.Barr@azag.gov
 4
                      Luci D. Davis (AZ #35347)
 5                    Luci.Davis@azag.gov
                      2005 N. Central Avenue
 6                    Phoenix, AZ 85004
                      (602) 542-7751
 7

 8        4.   Plaintiff State of Colorado:

 9                   Philip J. Weiser
                     Eric Olson (CO #36414)
10
                     Eric.Olson@coag.gov
11                   Michael McMaster (CO #42368)
                     Michael.McMaster@coag.gov
12                   1300 Broadway, 10th Floor
                     Denver, CO 80203
13
                     (720) 508-6000
14
          5.   Plaintiff State of Connecticut:
15

16                   William Tong
                     Joshua Perry (#440303)*
17                   Joshua.Perry@ct.gov
                     165 Capitol Avenue
18
                     Hartford, CT 06106
19                   (860) 808-5372

20
          6.   Plaintiff State of Delaware:
21
                     Kathleen Jennings
22                   Vanessa L. Kassab (#56132)
                     Vanessa.Kassab@delaware.gov
23                   820 North French Street, 5th Floor
24                   Wilmington, DE 19801
                     (302) 683-8881
     STATE INTERVENORS’
     NOTICE OF APPEAL                       5           ATTORNEY GENERAL OF IDAHO
     Case 1:23-cv-03026-TOR   ECF No. 106      filed 04/26/23   PageID.2327 Page 6 of 9




 1
          7.    Plaintiff State of Illinois:
 2
                       Kwame Raoul
 3                     Caitlyn G. McEllis (#6306561)
                       Caitlyn.McEllis@ilag.gov
 4
                       100 West Randolph Street
 5                     Chicago, IL 60601
                       (312) 793-2394
 6

 7        8.    Plaintiff State of Michigan:

 8                     Dana Nessel
                       Stephanie M. Service (P73305)
 9                     Services3@michigan.gov
10                     525 West Ottawa Street
                       PO Box 30758
11                     Lansing, MI 48909
                       (517) 335-7603
12

13        9.    Plaintiff State of Nevada:
14                     Aaron D. Ford
15
                       Heidi Parry Stern (#8873)*
                       HStern@ag.nv.gov
16                     555 E. Washington Ave., Ste 3900
                       Las Vegas, NV 89101
17                     (702) 486-3420
18
          10.   Plaintiff State of New Mexico:
19

20                     Raúl Torrez
                       Aletheia Allen (NM142672)
21                     AAllen@nmag.gov
                       201 Third St., NW, Suite 300
22
                       Albuquerque, NM 87102
23                     (505) 527-2776

24

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 1
          11.   Plaintiff State of Rhode Island:
 2
                     Peter F. Neronha
 3                   Julia C. Harvey (#10529)
 4                   Jharvey@riag.ri.gov
                     150 South Main Street
 5                   Providence, RI 02903
                     (401) 274-4400
 6

 7        12.   Plaintiff State of Vermont:
 8                   Charity R. Clark
 9
                     Eleanor L.P. Spottswood (#5218)*
                     Eleanor.Spottswood@vermont.gov
10                   109 State Street
                     Montpelier, VT 05609-1001
11                   (802) 793-1646
12
          13.   Plaintiff State of Hawaii:
13
                     Anne E. Lopez
14
                     Erin N. Lau (#009887)*
15                   Erin.N.Lau@hawaii.gov
                     465 South King St., Rm. 200
16                   Honolulu, HI 96813
17
          14.   Plaintiff State of Maine:
18
                     Aaron M. Frey
19
                     Halliday Moncure (#4559)
20                   Halliday.Moncure@maine.gov
                     6 State House Station
21                   Augusta, ME 04333-0006
22

23

24

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 1
          15.   Plaintiff State of Maryland:
 2
                     Anthony G. Brown
 3                   Steven M Sullivan (#199706260005)*
 4                   Ssullivan@oag.state.md.us
                     200 Saint Paul Place, 20th Floor
 5                   Baltimore, MD 21202
                     (410) 576-6427
 6

 7        16.   Plaintiff State of Minnesota:
 8
                     Keith Ellison
 9                   Liz Kramer (#0325089)
                     Liz.Kramer@ag.state.mn.us
10                   Jennifer Olson (0391356)
11
                     Jennifer.Olson@ag.state.mn.us
                     445 Minnesota St., Ste. 1400
12                   St. Paul, MN 55101-2131
                     (651) 757-1010
13

14        17.   Plaintiff State of Pennsylvania:
15
                     Michelle A. Henry
16                   Jill M. Graziano (Pa. Bar No. 82725)
                     Jgraziano@attorneygeneral.gov
17                   1000 Madison Ave., Ste. 310
                     Norristown, PA 19403
18
                     (484) 460-1330
19

20
          18.   Plaintiff District of Columbia:

21                   Brian L. Schwalb
                     Nicole S. Hill (#888324938)
22
                     Nicole.Hill@dc.gov
23                   400 Sixth Street, N.W.
                     Washington, D.C. 20001
24                   (202) 727-4171
     STATE INTERVENORS’
     NOTICE OF APPEAL                       8           ATTORNEY GENERAL OF IDAHO
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 1
          19.   Defendants United States Food and Drug Administration,
 2   United States Department of Health and Human Services, Robert M.
 3   Califf, and Xavier Becerra:
 4                   Noah T. Katze
 5
                     Noah.T.Katzen@usdoj.gov
                     DOJ-Civil
 6                   450 5th Street NW
                     Washington, DC 20530
 7                   (202) 305-2428
 8
     * Pro Hac Vice pending
 9

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     STATE INTERVENORS’
     NOTICE OF APPEAL                       9           ATTORNEY GENERAL OF IDAHO
